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UNITED STATES DISTRICT COURT =.
WESTERN DISTRICT OF NEW YORK ESTER PHENGUTE
CARRIE M. LEO, Civil Action No.: 6:2020-cv-07039-FPG
Petitioner, PETITION FOR REVIEW
VS.
OF
United States Department of Agriculture, AGENCY FINAL DETERMINATION
Respondent. MADE BY ALJ & COMPLAINT OF
DEPRIVATION OF RIGHTS

 

NOW COMES Respondent Carrie M. Leo, a self-represented litigant, hereby petition the
court for review of the Order of the United States Department of Agriculture entered on the 26th

day of February 2021 issued in this proceeding by the USDA's Office of the Judicial Officer.

Dated this 27th day of April 2021, in Walworth, Wayne County, New York.

Respectfully Submitted,

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Le ALL Pe

Carrie M. Leo, Respondent
3199 Walworth Road
Walworth, NY 14568

ph: (315) 538-8316

email: carrieleol5@gmail.com

ce: VIA EMAIL brittany.haner@ag.ny.gov
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3199 Walworth Road
Walworth, NY 14568
April 27, 2021

VIA USPS

Judge Frank P. Geraci, Jr.

U.S. District Court of the Western District of New York
2 Niagara Square

Buffalo, NY 14202-3350

Dear Judge Geraci,

Please find enclosed a petition for review for the judicial review of the termination of AWA License
21-C-0435 as a result of two corresponding determinations by the USDA on September 8, 2020
and February 26, 2021.

 

Thank you.
Sincerely, Zn
/—) iy /
f , -
a Us Ls
Carrie Meo, Plaintiff
enclosure

cc: VIA EMAIL brittany.haner@ag.ny.gov
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UNITED STATES DEPARTMENT OF AGRICULTURE
BEFORE THE SECRETARY OF AGRICULTURE

In re: AWA Docket No. 20-J-0118
Carrie Leo, an individual, doing business
as Caring for Cottontails Wildlife Rescue PETITION FOR REVIEW OF DECISION
& Rehabilitation, Inc., a New York State MADE BY ADMINISTRATIVE LAW
Corporation, JUDGE & COMPLAINT OF
Respondent. DEPRIVATION OF RIGHTS

 

The Respondent, Carrie Leo, respectfully submits this complaint and petition for review to
the United States District Court for the Western District of New York for appealing the ALJ's
granting of Complainant's motion for dismissal upon summary judgment resulting in the wrongful
termination of the Respondent's Class C Exhibitor's License #: 21-C-0435.

ARGUMENT #1:

 

The two charges to which the Respondent pled in December 2018 should not be used as
grounds to terminate the Respondent's license, especially since they were served upon
the Respondent four and a half years ago and were minor allegations.

 

 

9 C.F.R. § 2.11(a)(6) states "... any Federal, State or local laws or regulations pertaining
to the transportation, ownership, neglect or welfare of animals" and is the law under which the
Respondent's license should be terminated, according to the ALJ.

First, the violations! are not state laws pertaining to the transportation, ownership, neglect,
or welfare of animals. The report form for her LCP #623 was submitted in May 2016 with as much
information as she could possibly include thereby not including any "Inaccurate" information.” The
DEC never specified exactly what "inaccurate" information was included on the report so this part
of the accusation remains a mystery.

The Respondent only admits to an untimely submission of the paperwork; which, if the
Department were to interpret and enforce the regulations and laws consistently, would implement
almost every licensee. Likewise, the Department has struggled constantly with timely submissions,
especially in terms of issuing reports and decisions related to hearings. The Respondent waited
months past the deadline dates for the ALJ's Recommendation and Report for the Commissioner
and then months after the deadline for the Commissioner's Final Determination. In fact, she had

 

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2 Exhibit with LCP #623 Report submission.
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to write into the Governor's Office to request the Governor initiate the production of the
Commissioner's Final Determination.

Second, there were mitigating factors which should have been taken into consideration and
included when considering the totality of the circumstances.

Third, these violations are not the kind which are normally used to substantiate termination
of licensure by APHIS. They are not egregious and are practiced by other licensees similarly
situated to the Respondent who have not been charged for such "violations" and thus bring up issues
of the Respondent not being treated equally under the law therefore compromising any protection
under the law serves to provide for all citizens.

Furthermore, they are not willful errors which detrimentally affected the welfare of animals.
If anything, the Respondent was supporting and protecting the welfare of the animals by keeping
them in a more comfortable environment more congruent with the survival of the animals.* More
about the alleged violations is discussed later.

ARGUMENT #2:

 

Neither the Complainant nor the Court identified what laws the Respondent would
allegedly be circumventing if she maintained possession of her license. It is not
uncommon for licensees to maintain their AWA License after having their state
license(s) revoked.

 

e In New York State, it is required a person interested in breeding, exhibiting, or dealing wild
animals, first obtain a license under the Animal Welfare Act through the USDA-APHIS
before applying for a state license. Hence there's a period of time during which the potential
licensee will have a federal license but not a state license.

e There are a number of licensees who do not have a state license corresponding to their
federal license, especially if they are in possession of non-indigenous and/or privately
owned animals, exhibiting neither but keeping them solely as a private collection.

e There are even a number of individuals who have kept their concurrent AWA license
through APHIS while and after they had their corresponding state licensees revoked. In
New York, a couple examples are Cindy Bardin* and The Adirondack Wildlife Refuge, both
of whom have been accused of far more serious violations that those of the Respondent.
This issue is another instance in which the Respondent's right to equal protection under the
law was denied by the ALJ's granting of the Complainant's Motion for Summary Judgment.

 

3 The Respondent had lost at least one opossums the year before by keeping it outside

4 AWA Docket No. 16-0009 shows the Decision of the Court to be a Consent Order and small fine with the retention
of her federal exhibitor's license after a 90-day suspension of its privileges. The Decision also reflects Bardin's
alleged circumvention of laws by assisting another licensee with a terminated USDA license exhibit his animals.
Yet, Ms. Bardin was able to obtain a decision in favor of her retaining her license. Such imposition of the law by
the agency is irrational as it is unequal and fails to follow a prescribed pattern of treatment of licensees.
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ARGUMENT #3:

 

The two charges to which the Respondent pled in December 2018 are not state laws
pertaining to the transportation, ownership, neglect, or welfare of animals. They also
were not due to egregious or willful actions on the part of the Respondent.

 

 

The first alleged violation was the use of stainless-steel hospital cages for housing Virginia
Opossums throughout the winter. The animals, being more intolerant to cold weather than other
wildlife in the state, need extra protection from the cold due to their tendency to contract infections
conditions such as frostbite and disintegration of ear margins, toes and tails.” Many times the
frostbite advances to more severe conditions such as Dermal Septic Necrosis or Flesh-Eating
Disease. The conditions easily become systemic and take a long time to treat, especially if the
animal is resistant to certain antibiotics and/or more than one type of drug has to be tried for efficacy

and effective therapy.

Furthermore, the NYSDEC, who wrote the charge against the Respondent, reached beyond
its jurisdiction by enforcing husbandry conditions as this is the focus of the USDA-APHIS if the
animals were non-releasable and kept for exhibition. However, these were technically still animals
in rehab and just like the husbandry of RVS animals in rehabilitation, the NYS Dept. of Agriculture
has jurisdiction over animal husbandry.

Both the state and the USDA fail to consider any statements or mitigating factors concerning
how and why the opossums were housed in the manner they were, temporarily to get them through
the cold months of the winter. In fact, the Respondent was supporting the welfare of the animals
by keeping them more comfortable and safer in the barn under heat lamps where they slept away
most of the winter. The welfare of the animals were not threatened nor detrimentally affected by
keeping them in a warm, comfortable environment.

The second violation alleges the submission of untimely or inaccurate records for the
Respondent's LCP license. The details of this charge were never explained such as the erroneous
allegation the DEC made concerning the records the Respondent submitted for her LWR (which
was included in the DEC's Notice of Intent to Revoke LCP #623 dated August 14, 2017 and received
by the Respondent on or around August 22, 2017).’ The Respondent submitted the LCP Exhibition
Report in May 2016 but was charged on or about July 27, 2016 for never have submitting it.

 

5 Exhibit 6 from the Respondent's Answer to the Complainant's Motion for Summary Judgment shows the final
phase of infections contracted by some of the opossums who were recovering from them and which were the
ones allegedly "inappropriate housed" in the barn during the winter in the stainless-steel cages.

§ Opossums may go into short stints of torpor during wintertime months.

7 The DEC Division of Law Enforcement issued a plethora of alleged violations to the Respondent on July 27, 2016, in
effect, overcharging her in order to "see what sticks". As a result, the charges were either 1. outright untrue; 2.
based on facts which do not prove the conduct of the Respondent was unlawful; 3. ignored her authority to have
the animals and conduct the activities she was at her facility and/or 4. charged to the Respondent irrespective of
the laws regulating government agency conduct relating to the charge, such as the two charges concerning
inaccurate or untimely submission of paperwork for the Respondent's LWR and LCP licenses. The Department of
Law Enforcement has a history of charging members of the public erroneously in order to bully or threaten
individuals, especially those who fight back (like the Respondent). One needs only delve into the case of McCulley
v New York State Department of Environmental Conservation, Docket No. 8:2005-cv-00811, in order to see the

lengths
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It is also important to note that the two alleged violations to which the Respondent pled are
committed by other licensees and known by the Department. Yet, according to the knowledge and
belief of the Respondent, no other licensee similarly situated as the Respondent has ever been
charged, much less convicted of late or inaccurate submissions of paperwork® or keeping animals
in stainless-steel hospital cages. In fact, the cages were given to the Respondent by another
rehabilitator who has been a long-time wildlife rehabilitator and board member of the New York

State Wildlife Rehabilitation Council.

The Respondent understands the ALJ does not have the authority to hear causes of action
related to the deprivation of civil rights. However, the Judicial Officer is and thus the Respondent
is making the argument that given the common use of plea agreements, it is also common that those
who plea to charges see no other choice or very little choice, either financially or otherwise, but to
agree to plead guilty to offenses they never committed. Thus the Court should delve into the quality
of the charges and the circumstances therein in order to take the drastic step to terminate, suspend
or revoke a person's license.

It is also important to understand these charges were levied upon the Respondent almost
five years ago. With the lapse of time having been so long and the alleged violations being so
minor, it is inappropriate, especially on an ethical basis, to continue punishing the Respondent for
them, especially since termination of a federal license isn't supposed to be punitive.

Furthermore, it is difficult to understand the value of terminating her licensure this long after she
was charged by the DEC and her state license was allegedly revoked. It seems more like the staff
is moving to terminate her license in order to punish her for something in particular which occurred
within the last year or so than for the reason she would be circumventing any laws by keeping her
federal license.

The charge involving the alleged use of inappropriate caging for the opossums in her care
is a perfect example. The use of the caging and the environment the Respondent chose to keep the
animals in only helped the opossums in their recovery over bacterial infections. The Respondent
included pictures of some of the opossums and their conditions in her Answer to Complainant's
MSJ and is referred to as "RX-6" on page 11 of the ALJ's Decision & Order.

It is perplexing why the ALJ thought that Respondent's filings were "devoid of the type of
supporting documentation to establish a genuine issue for [a] hearing" (15, ALJ's Decision &
Order) First, the Respondent did not get the chance to file her hearing exhibits like the
Complainant did, therefore possibly making his argument seem stronger, especially since he
submitted numerous irrelevant and prejudicial exhibits.

Second, the Respondent did file some meaningful documents, one of which was the pictures of the
opossums and their infections. It isn't clear as to why it is important to the ALJ to dismiss all of her
submissions, except for the reason of clear bias for staff desires to terminate the Respondent's

license.

 

the Department will go to in order to falsely prosecute a person often at the expense of the person's rights.
8 Samples of other licensees' inaccurate and late submissions of paperwork were included in the Respondent's
Answer to the Complainant's MSJ in order to show the reader evidence of what are
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It is also perplexing how the keeping of the Respondent's federal license would "empower her to
circumvent the revocation of her New York State LCPEE in violation of 9 C.F.R. § 2.11(a)(5)."
She has not been charged with any citations nor even alleged to have broken any local, state, or
federal law since she was charged by the DEC back in 2016. Again, the alleged revocation of her
state license had been two years ago and to dwell on the alleged LCP revocation stems from bias
of the administrative court in favor of the staff. There should be a time when licensees should be

allowed to move on.

If this was the case and the staff is fairly enforcing this notion, then there would be no
persons possessing federal licenses without state licenses. But there is. In New York State, a person
may be federally licensed for certain regulated animals without needing a state license and there
are numerous people who have a federal license without a state license. For wildlife taken out of
the wild in New York State and kept as non-releasables, the person must also get a state license to
exhibit the animal. The applicant must have the federal license before even applying for a state
license.

ARGUMENT #4:

 

The Respondent's state licensure may never have been revoked, according to documents
given to another licensee by the NYSDEC. It may have simply expired.

 

 

In another case, Leo v Thomas, the Respondent became aware of a document, written by
Joe Therrien of the Special Licenses Unit, for another licensee, Tyler Thomas, around the time
Thomas was served with process for the case in early November 2017. The Respondent found
mention of this document in an email which was included as a responsive record to one of the
Respondent's FOIL requests submitted to the NYSDEC.”

Later in November 2017 when the Defendant Thomas served the Ms. Leo (the Respondent
in this case) with his Answer to her Complaint, it stated " ... J spoke to Mr. Paul Stringer who
instructed that Ms. Leo does not maintain any authority to possess wildlife and stated that Ms. Leo
does not possess the valid permits required for the animals. A later conversation with Mr. Joe
Therrien, also from the NYSDEC was had regarding the legality of returning Ms. Leo's animals.
Mr. Therrien stated that the transfer of the animals back to Ms. Leo was unlawful and could result
in the revocation of my personal permits and licenses." It is important to note this licensee,
according to Therrien and Stringer, acquired animals from an illegal source yet, was never charged
with doing so in violation of LCPEE Condition #1 which states "The license [LCPEE] is authorized
to purchase, possess, transport and import ... species, that were obtained from legal sources."

 

° Although the DEC has given the statement, concerning Respondent's case and licensing, to other licensees, such as
Thomas, it refuses to give the Respondent a copy of it as she has requested in FOIL requests.
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Either the Respondent's LCP #623 was valid until its alleged revocation by the
Commissioner on or around November 7, 2018, or it wasn't. Later Defendant Thomas stated in a
social media post dated December 6, 2019, that he had "orders", presumably by the DEC for the
transport and disposition of the Respondent's animals. The Respondent never has received a copy
of any of this paperwork, even upon request. Clearly, this was all clandestine activity and shows
that the Department really considered the LCP of the Respondent to be void as of its expiration date
in July 2017. In fact, the Commissioner himself opens up his report stating her LCP "has an
expiration date of July 7, 2017". Therefore, it should not be considered to be revoked. The
revocation procedure, improperly done, was simply for tainting the public record of the Respondent
and her hard work - one of the reasons why the Respondent's USDA license is now under attack
almost five years after being charged for offenses which did not even happen.

The case, Leo v Thomas, is one in which the NYSDEC have taken an improper "back-seat"
involvement. One way they've done so is by having a "shadow conviction", so to speak, of accusing
the Respondent of having her animals taken forcibly from her by the Department due to her not
being licensed to have them nor taking proper care of the animals. There is no truth to this story
perpetrated by several staff members from both the DEC and USDA and hence no evidence of any
neglect on the part of the Respondent nor any evidence at all of any level of government seizing
her privately-owned animals.

Animal Care Inspector, Andrea D'Ambrosio, and Small Business Ombudsman, Steve
Bennett, have circulated another erroneous rumor stating that the Respondent had "forfeited" her
animals. Again, there is no paperwork, proceeding or any evidence whatsoever which proves there
was any forfeiture. This is because there was no forfeiture. These staff members are lashing out at
the Respondent because she is asserting her rights and the truth of the matter.

There is a process the government must go through in order to seize animals which are being
neglected or treated cruelly and not one phase of such a process was invoked by the DEC or the
USDA. Instead, a secret document was written by Joe Therrien of the DEC's Special Licenses Unit
around the day the Defendant in the case, Leo v Thomas, was served. Therrien's supervisor, James
Farquhar, communicated with the Thomas’ attorney resulting in the attorney claiming the
Respondent's LCP was invalid hence the return of her animals was prevented - using the exact same
methodology the DEC was "secretly" using.

The USDA staff is involved in that the Respondent has reason to believe that Andrea
D'Ambrosio, the former Animal Care Inspector for the Respondent's facility in the past, possibly
along with her supervisor, Tonya Hadijis, have helped the other licensee conceal the continued
possession of the animals belonging to the Respondent while the Defendant, Thomas, submitted
false testimony to the Court regarding the alleged demise of the animals.'°

Three animal care complaints submitted by the Respondent were given to D'Ambrosio and
Hadijis (at least one of which participated in the occurrences of the complaints to begin with). Thus
it isn't surprising they not only failed to look at the evidence the Respondent submitted with the

 

10 The licensee had some of the worse violations seen on inspection reports while his facility was in New York. It is
expected that the USDA staff will, and has been, protecting him by giving him perfect inspections and allowing for
the unlawful possession of the Respondents’ animals.
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complaints but also accepted a false report of an alleged necropsy done by a vet in Texas.'! They
also are protecting the licensee (who is the Defendant in Leo v Thomas) from the Respondent
domesticating an order from the Supreme Court for the state of Texas (where he is keeping her
animals) which gives her custody of her animals. This also occurred around the February-March
2020 timeframe and coincides with the start of prosecution of the Respondent by the USDA for

license termination. !

The initial submission of the OSC by the Complainant in the case at bar also seems to
coincide with the submission of a complaint made by the Respondent to the Secretary concerning
the theft of her animals - an act the USDA is supposed to prevent.

According to 7 U.S.C. § 2131, the Animal Welfare Act serves to prevent the theft of animals

and the use or sale of them. However, apparently, according to several members of the DEC and
USDA, the Respondent should not be protected under this law, even against a licensee who has
committed the same crimes against others. There were also violations of record-keeping according
to 7 U.S.C. § 2140 as the licensee who stole the animals did not document their transport out of
New York and into Texas nor were they documented while in Texas and he was loaning them out
to facilities and exhibiting them himself. At one point, he was exhibiting the animals without a
federal Exhibitor's License. Again, this shows an extreme disparity in the treatment of the
Respondent and that of the licensee who is still in unlawful possession of her animals. Such a
disparity in treatment is unequal treatment under the law and thus an abuse of the legal process
since the Respondent is clearly being prosecuted for other reasons than the charges made up by the

state and sound reasoning.

1. Spinale v. U.S. -- 03 Civ. 1704 (KMW)(JCF) (S.D.N.Y. Jan. 9, 2004)
2. Kelly v. City of New York, No. 01 Civ. 8906 (TPG) (S.D.N.Y. Sep. 7, 2005)

The remedial character of the AWA is seriously undermined by the inconsistent enforcement of the
Act's provisions as well as waiting so long to punish the Respondent for alleged actions from years
ago. It is ineffective and irrational to wait until the licensee has gone years without any further
allegations or charges regarding her activities to then terminate her federal license.

 

ARGUMENT #4:

The ALJ's decision to terminate Animal Welfare License causes deprivation of rights of the
Respondent.

 

1. First Amendment Freedom of Speech - The Respondent had submitted a number of
complaints to various departments and individuals in the USDA in order to address concerns
she had before she was selectively prosecuted for termination of licensure. However, all of
the complaints were either immediately dismissed or ignored altogether. Her last complaint
was sent around or in March 2019 to Secretary Perdue.

 

11 Although access to which was denied via a FOIA submission by the Respondent stating there were allegedly no
records which were submitted by the veterinarian who's name was on the necropsy report.
22 Leo v Thomas & Stacey No. 2020-DCL-1028, Cameron County District Court, Texas.
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The complaint went unanswered and the Respondent's concerns were never addressed and
thus contentions festered even more. She received a phone call from OGC Attorney John
Rodriguez stating that if she did not voluntarily surrender her license, it would be terminated
by invoking the administrative process. The Respondent declined the voluntary surrender
of her license and received no further communication from the Department concerning any

complaint.

A year later, Respondent was contacted by Mr. Rodriguez from the USDA-OGC again; this
time it was regarding the letter the Respondent sent to the Secretary the year before. One
of the main concerns contained within the letter was the participation of a staff member in
unlawful conversion, by another licensee, of animals belonging to the Respondent.

Instead of addressing the long-standing problem, the Secretary sent the Order to Show
Cause why her federal license should not be terminated. Clearly, the proceeding had been,
at least partially, in response to her submission of the complaint to the Secretary in or around

March 2019.

The use, or abuse, of the legal process to silence speech and stile activities personally and
politically opposed by staff of a government agency is a classic example of a prior
restraint, which is both offensive to the First Amendment and contrary to the public
interest. With all of the claims of availability of administrative remedies which should exist
in order to address conflict among persons such as the staff and licensees, it would be
expected the agency would respond to these attempts instead of using them to railroad the
Respondent and set her up for licensure termination.

. Violations of Due Process.

The ALJ commented on and then dismissed several arguments made by the Respondent in
her Answer to the Complainant's Motion for Summary Judgment which were made in
response to arguments not made by the Complainant in the Motion. Thus, the ALJ
concluded on page 19 of his decision that granting summary judgment "...is not based upon
those allegations; they are immaterial to the outcome of this case." Yet the ALJ included
accusations not included specifically in the Complainant's Motion for Summary Judgment
such as her alleged unauthorized possession of wildlife which were, in reality, authorized
by licensing she had at the time. She also did not do anything different than other
rehabilitators did and still do and who also do not get charged with criminal offenses in
doing so. It seems the Complainant not only has very little burden of proof in proving his
points but at least in the case of the ALJ interjecting unproven accusations which were never
mentioned in the Motion for Summary Judgment, the Complainant enjoys the privilege of
having to provide no proof whatsoever.

e It's important to point out that the staff wins every single case which comes across
the dockets in the administrative court of the DEC in regard to accusations including
Article 11 of the ECL, such as wildlife rehabilitation and licenses like the License
to Collect & Possess. Administrative courts require such a low standard of proof
from the staff attorneys that the accusee is literally considered guilty and the
outcome predetermined before the hearing even started. Such characters of a court
of law has little to do with quality and everything to do with convenience and
keeping the agency staff happy in excluding people for political or personal reasons.

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It also keeps the special interest groups, such as animal rights groups with which the
USDA and DEC are connected, content as an increasing number of exotic animal
related businesses are destroyed by staged complaints and erasure of rights such as

due process.
e The failure to provide Respondent with an administrative hearing prior to her
licensing termination violated her Fourteenth Amendment right to due process. (re:

Matter of Cindy Bardin) There are triable issues of relevance; one of them being
whether the Respondent is unfit to continue holding an AWA Exhibitor's License:

3. Selective Prosecution & Equal protection - 369 U.S. 541 (1962), 40, Beck v.

The selective prosecution issue raised is whether the Respondent was improperly selected
for terminationin contrast to other licensees who have many documented and

undocumented violations known by staff, but who have received more lenient treatment and

thus kept their federal licenses.

Bias Against the Respondent

From reading the decision of the ALJ, the main tone of the writing is clearly indicative of
bias. Ifthe defensive nature of the writing wasn't apparent to the reader, then the content should
have stood out as inappropriate. An example of this is the ALJ's inclusion of the unproven (and
dismissed by Macedon town Court) allegation that the Respondent had unauthorized possession of
animals. Not only does this serve as an example of the standard of "preponderance of the evidence"
used by the ALJ, but it reveals the Complainant had no burden to prove anything. The unauthorized
possession of animals was not included in the Complainant's Motion for Summary Judgment and
its inclusion in the ALJ's decision & order was unfair. In fact, the allegation didn't come to the helm
of discussion at all during any communication between the parties.

The prosecution should have an uphill effort in proving his case. However, similar to state

administrative tribunals, it seems as though all is needed for the revocation, suspension or

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termination of a license is simply a request from staff and/or those held in favor with the agency.
Furthermore, the ALJ stated the Respondent did not dispute her submission of "inaccurate"
paperwork to the DEC. This is not true. The Respondent only pled guilty to the paperwork offense
as a result of it being untimely, not inaccurate. It is also perplexing as to why the ALJ did not
consider the DEC charging the Respondent for an allegation which was covered by NYS law
exposing an illegal act done by the Department. 6 NYCRR 175.5 states the Department is to return
any incomplete or inaccurate paperwork to the writer with an explanation as to what is incomplete
and/or inaccurate. It is remiss the ALJ Sherman failed to make the Department accountable as to
its violation of the regulation; however, the ALJ in the proceeding at bar has also done the same;
that is, scan over the violations of the government, be it state or federal, in their inappropriate
persecution of the Respondent. Again, it shows there are no standards for those prosecuting
licensees yet there are unreasonable standards for the licensees in proving their defenses, especially

when all of their submissions are immediately dismissed by the Court.

Second, there are individuals licensed under the AWA who have had state licenses revoked
but, to this day, still maintain a federal license. One example is Cindy Bardin. It is unfair and a
lack of sound judgment and standard to treat licensees so radically different, especially when they
are situated similarly. This type of action by the USDA constitutes the violation of equal protection
under the law.

Wide Disparity of Interpretation of Expectations Among Licensees

There is also the way state laws and regulations are interpreted and thus enforced which also
plays a part. It's apparent that interpretations and enforcement of laws can change drastically
between licensees. For instance, the Respondent was charged with untimely submission of
paperwork yet, as one can see from Exhibit 5 in her Answer to Complainant's Motion for Summary
Judgment there have been a number of licensees who have submitted untimely and inaccurate
paperwork yet have never been charged. Additionally, the same exhibit shows how the Respondent
was erroneously charged with inaccurate paperwork. There also was no evidence submitted
showing there were inaccuracies or missing information in her submitted report for which she was
charged.'? Such details need to be used by the Administrative Court in determining how credible the State's

 

3 The alleged inaccuracies of the Respondent's paperwork for which she was charged were stated in the document Notice of
Intent to Revoke dated August 14, 2017.

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charges and actions really are. In the case of the Department of Environmental Conservation, credibility is
questionable, at the very least.

OTHER POINTS IN RESPONSE TO ALJ'S DECISION

Secretary's Authority to Investigate. By reciting "The Secretary has the authority to
investigate or inspect as he deems necessary to determine whether any ... exhibitor ... has
violated or is violating any provision of [the AWA] or any regulations or standard issued
thereunder ...", the Court is implying that, at the exclusion of all other laws and rationale, the
Secretary may do as it pleases. Although this has been, no doubt, the path the USDA and New
York State DEC administrative agencies have taken in order to deny due process to the licensees
falsely accused or accused of conduct which other licensees are known by agency staff to commit
as well, it is doubtful the legislative intent of the law is meant to be taken to the extreme in which
the Secretary may launch arbitrary and capricious investigations, allow inappropriate conduct
among its staff members and treat a licensee with minor allegations of violations far worse than
licensees who have perpetrated far more serious violations. Such action by the Secretary not only
seriously undermines the AWA of its remedial nature but also causes distrust of the public in the
laws some administrative agencies inconsistently and arbitrarily enforce.

TERMINATION OF LICENSURE INVOLVES DEPRIVATION
OF RIGHTS OF THE RESPONDENT

Deprivation of Personal Property Rights
According to 7 U.S.C. § 2131, the Animal Welfare Act serves to "to protect the owners of

animals from the theft of their animals by preventing the sale or use of animals which have
been stolen."

If the statements and evidence submitted by the Respondent were considered on equally as
that of the Complainant, then the two violations to which she pled guilty, would have been mitigated
by the circumstances under which they were levied to begin with. The court seemed to not consider
that the violations charged to the Respondent, including the ones which were dismissed, as well as
the two to which she pled, were given in error.

She is immediately guilty until proven innocent - except the opportunity to prove innocence
never arrives since the quasi-judicial forums of agency hearing offices appear to be run courts which
provide constant victories for the Complainant and continual defeats for the Respondents. This has
helped to lead the agency to wielding highly inconsistent and unjust enforcement of the Animal
Welfare Act, especially as it stands as a remedial statute. Therefore, termination proceedings result
from some political and/or personal interest(s) of the staff. There is no real judgment or justice for
that matter; only a certain win for the prosecuting attorney.

Mitigating factors concerning the charges to which she pled should be considered. First,
the charge claiming she kept opossums in inappropriate cages can be effectively refuted. First, the

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opossums were not long-term animals at the Respondent's facility. They were in rehabilitation and
recovering from infectious conditions and needed the added shelter and heat provided for them in
the barn at the time the Respondent was documented by the inspector for having the animals in the

cages they were in.

The fact that the inspector thought it was appropriate to keep animals who tend not to thrive
in the cold climate and already have a weakened immune system from recovering from infections
out in the bitter cold in the winter should have been a red flag to the ALJ that there was a possibility
that not only the Respondent was treated unfairly by the inspector but that perhaps the inspector
needs additional training or some type of address for the expectation of sub-standard care and
dismissing the Respondent's attempts and reasons for keeping the animals inside the barn instead
of outside. By failing to do so, it is confusing as to why the Court believes the charge of
inappropriate caging is congruent to the rationale of the AWA as a remedial statute. It is actually
conflicting with what one would consider to be expected of a caregiver regulated by aremedial law.

It is also vital to look at the allegations made against the Respondent among the backdrop
of the normal actions of the rest of the licensees situated similarly to the Respondent.

By failing to take into consideration mitigating factors regarding the charges just previously
mentioned, as well as the failure of understanding the lack of severity of the charges and how other
licensees have been treated in similar circumstances, makes the ALJ have a very narrow vision of
the true situation and its circumstances.

Prejudice

Complainant's attorney, John Rodriguez, created a great deal of prejudice against the
Respondent throughout the time before the MSJ was granted by the ALJ. One way of prejudicing
the Respondent was the inclusion of all of the dismissed charges given to the Respondent by DEC
Officer Kevin Thomas.

It is clear Rodriguez's tactic worked with the ALJ. Even though unadjudicated and having
been dismissed for two years now, the ALJ included in his decision statement that the
Commissioner "found" the Respondent possessing wildlife unlawfully. If nothing else in the
decision or the process by which it was rendered doesn't reveal the prejudice of the ALJ against the
Respondent, then the inclusion of his own "guilty verdict" of unlawful possession of wildlife would
be an absolute sign.

Anyone can put pen to paper and write a citation. It doesn't make the citation truthful;
especially with the reputation the officers of the DEC have in issuing false citations. (include
footnote to point to evidence of such)

The number of citations issued by Officer Thomas was the idea of William Powell who was
supervising Officer Thomas in Region 8. Powell had threatened the Respondent in his first and
only conversation with her in November 2015. Because she challenged him on his attitude that
day, he threatened her that he would get her licenses terminated. This threat was made after he had
just finished telling the Respondent that there was nothing wrong with her facility and animals

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(which had been seen by two officers several days before Powell and Respondent spoke on the
phone).

Moreover, there are many tactics used by law enforcement in order to make a case bigger
than it is if they are lacking evidence. Overcharging a person gives the "wow!" factor and makes
others believe that with the number of alleged violations, the person must be guilty of at least some

of them.

The Department also refused to give the Respondent the status of her licensing as well as
process her applications for renewals and amendments back in 2016, and 2017.'* The Respondent
called, emailed, and made numerous attempts with various staff members in trying to find out the
status of the renewal and amendment applications for her licenses. By failing to process them, the
Department (while processing the fees sent in with the applications) caused the automatic approval
of the applications and amendments pursuant to 6 NYCRR 175.4, including the amendments
requesting the addition of opossums and coyotes to the Respondent's long-term license. The
Department cannot have it both ways by accusing her of not having animals licensed properly then
excluding her from the very process she is supposed to use in order to do so.

Furthermore, it is a well-known fact that wildlife rehabilitators have the discretion within
which to determine when and where wildlife is to be released after successfully rehabilitating the
animals. It is not uncommon to overwinter species such as coyotes and opossums. In fact, this
was the plan for the animals divulged by the Respondent to Powell in the November 2015
conversation, so he knew the Respondent's intentions regarding the animals. There were no secrets,
at least on the part of the Respondent.

Moreover, the animals which were alleged to have been illegally possessed by the
respondent, namely the coyotes and opossums, were rehabilitation patients, not under the purview
of the USDA but the USFWS if a federal agency may even impose its involvement into a state-run
rehabilitation program at a facility in the state. Because these animals were rehabilitation patients,
any allegation against the Respondent regarding unlawful possession, has nothing to do with the
USDA Exhibitor's License which the ALJ wants to terminate. State-run wildlife rehabilitation
programs are entirely different and separate from the long-term possession of non-releasable
wildlife and exotic animals which is overseen by the APHIS as a division in the USDA.

Any allegation of unauthorized possession of any wildlife is an unsubstantiated accusation
and should not have been included in the ALJ's decision and presented as a legitimate charge to
which the Respondent either pled or found guilty after trial. The Commissioner, also biased, cannot
make an accusation part of the Respondent's record of convictions simply because he makes an
unfounded statement in his final determination considering the Respondent's License to Collect &
Possess #623. By the ALJ documenting a provocative statement such as this allegation, he is clearly
trying to misrepresent the case at bar by making it look like the Respondent is guilty of more than
what she is.

 

‘4 The citations from Officer Thomas were levied against the Respondent on July 24, 2016.

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Last, it is a deprivation of the Respondent's right to due process and reveals the bias inherent
in the ALJ's decision and his efforts in the overall effort of other staff members in misrepresenting

the details of the Respondent's case.

Unequal Treatment Under the Law

§ 2131 states that one of the purposes of the AWA is "...fo protect owners of animals from
the theft of their animal by preventing the ale or u e of animals which have been stolen." However,
the USDA staff has refused to enforce this part of the AWA in support of my interests regarding
stolen animals, which they have and continue to cover up helping the licensee who stole them. By
doing so, the staff has severely undermined the AWA and makes their future actions untrustworthy.

The most effective strain in this case which seriously undermines the enforcement of the
AWA, especially as a remedial statute, is the inconsistency of enforcement among licensees. In
fact, by how the agency enforces its regulations and statutes sets precedence among the licensees
in what is lawful and what is not; especially in the face of ambiguous statutes and regulations. By
treating licensees with the extreme dichotomy they currently are, it gives the other licensees very
confusing standards by which to operate activities regulated by the AWA.

In fact, one may see the inconsistency of enforcement as entrapment. For instance, while
Powell falsely accused the Respondent of keeping wild coyotes and intentionally taming them to
keep them indefinitely (which wasn't true), another facility did exactly that with the support of the
Department. The Adirondack Wildlife Refuge couldn't have had a litter of four pups for a full week
before they had been keeping the animals in human living quarters, posing in selfies with visitors
to the facility and fit with domestic dog harnesses and led around like dogs. Not once did the facility
ever try to rehabilitate the animals.

Instead of prosecuting these violations of the NYS Environmental Conservation Law and
terminating all licensing given to the facility, like the Department did with the Respondent, the
facility was allowed to keep the pups and even exhibit them outside of the facility in the public
while they were kept on leashes. This is an egregious double standard which can even render the
belief throughout the public that licensing systems like these are not only unnecessary but abusive.

The administrative agencies wielding the authority to impose such licensing standards not
only often violate the same licensing laws they expect licensees to follow but they also keep a
standard of favoritism among the licensees in which animals are not benefitting. In fact, such
actions undermine licensing laws like the AWA, especially as a remedial statute, and waste so many
resources while the authorities play their games with licensing statuses, manipulate individuals,
engage in gaslighting!> instead of the truth, and generally abuse their authority as well as the legal
and enforcement processes

 

'S manipulating someone’s perception of what is real. It is a form of narcissism and sociopathic
tendencies as gas lighters look to gain power over someone. A more psychological definition of gaslighting is
"an increasing frequency of systematically withholding factual information from, and/or providing false
information ... having the gradual effect of making [others]... confused and less able to trust their own
memory and perception". This is how administrative agencies make others dependent on them in
thoughts and/or feelings thereby increasing the agency's control over others.
(source: https://www.northpointrecovery.com/blog/gaslighting-examples-effects-confront-abuse/)

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From the imposition of such inconsistent and abusive standards upon licensees, a strong
disdain for the law will develop and illegal acts and conduct will rise even further. This is why it
is vital to make such authorities accountable at all times instead of giving them unlimited job
security and allowing them privileges at the expense of the rights of others with less authority and
influence. Failure in doing so over the years has resulted in an uneven power dynamic in our society
in which government agencies, especially the USDA and natural resource agencies, such as the
DEC, tower over members of the public and virtually do as they please without regard for their own
violations of the laws and regulations. Another label for such a practice is bullying. .

There are numerous examples of the obvious favoritism by the Animal Care Department of
certain licensees and what they are allowed to do versus what people who are targeted, like the
Respondent, are allowed to do. One such case is the one which has reached litigation in the
Jefferson County Supreme Court, Leo v Thomas. This is a case in which licensee Tyler Thomas
literally and unlawfully converted ownership of animals in his care which belonged to the
Respondent. He is also guilty of unlawful possession, fraudulent inducement, unlawful transfer
and disposition, unlawful import into Texas State, illegal possession of the animals (including his
esp. endangered species he has), unlawful exhibition, transfer, and other violations of the AWA,
and both New York and Texas State Conservation Laws. Yet, not one hint of accountability has
been invoked by the staff in regulating such actions which are specifically and clearly related in the
AWA as being actionable; that is, the transfer and sale of stolen animals.

In Tyler Thomas' Answer to the Respondent's Complaint, sent to the Respondent on
November 28, 2017, he admitted Animal Care Inspector, Andrea D'Ambrosio, encouraged him to
take animals from the facility of the Respondent with the intention of never returning them. This
is fraud and a violation of due process and personal property rights. This was to occur on April 23,
2017 when Thomas transported three of the Respondent's animals from her facility to his for short-
term boarding to last for 3-6 months while the Respondent underwent and recovered from long-
needed knee surgery. Throughout the course of the case, the Respondent has learned from evidence
she has acquired that both the USDA and DEC have been instrumental in helping Thomas secret
the animals away in the state of Texas without any repercussions and in direct violation of the
Respondent's rights and the AWA.

Any animal care complaints I submitted to APHIS were immediately given to Andrea
D'Ambrosio, one of the main impetuses of the case in the first place, and her supervisor, Tonya
Hadijis, to investigate. This was done after I had requested Andrea D'Ambrosio, in particular,
refrain from gaining access to any information pertaining to my facility which is not needed. By
then, she was no longer my inspector.

The Respondent has also learned the DEC has written two statements for Thomas regarding
the animals stolen from the Respondent. One of those documents is a "phone summary" written by
Joe Therrien on November 7-8, 2017 and another one giving Thomas "orders" to transfer and
dispose of the animals. However, these are privately owned animals which were paid for by the
Respondent and lawfully possessed. The Department has no authority to give another person's
animals away to another. In addition, there are procedures to be taken in order to lawfully seize
animals from a person. A further violation occurred when the Department and Tyler Thomas
refused to give a copy of the papers to her even though they were addressing her animals she owned

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and were levying further allegations of animal cruelty and stating the false story of seizing the
Respondent's animals, when nothing even remotely similar, was true, nor is there any evidence for
the other side to support their gaslighting and story-telling. This is a violation of the Respondent's
personal property and due process rights. The Respondent mentioned a "shadow effort" or project
coinciding with the recent USDA hearing terminating her Exhibitor's License. Based on acquired
evidence, Powell, Therrien, Kevin Thomas, Andrea D'Ambrosio, Tyler Thomas and his attorney,
Michael Young of Lowville, NY, have been passing around an alternate, albeit erroneous, version
of events. The main disservice to the Respondent is the falsified story of the DEC saying they
allegedly "seized" the animals when nothing could have been further from the truth.

The animals were, as clearly shown by evidence submitted by the Respondent to the
Supreme Court in the Leo v Thomas case, subject to a boarding contract between the parties. The
animals were to be returned to the Respondent upon her request as she maintained ownership of
them throughout the time the contract was in effect. Neither the DEC nor the USDA were never
involved with anything to do with the creation of the contract (as it was known by the Respondent
as she didn't know, at the time, that D'Ambrosio was encouraging Thomas to take more animals
then he did from the Respondent).

Misrepresentation of Licensing Status

A great deal of gaslighting among the opposing "team"”’ of people has led to an entirely
different reality than what the truth reveals. In their reality, the Respondent did not have her animals
lawfully as she allegedly didn't have licensing in place for the badger, fisher, and fox - the animals
stolen by licensee Tyler Thomas, with the encouragement of the USDA and the NYSDEC, and

undedr the color of law, repeatedly

Other accusations Powell wanted to make against the Respondent, such as her starving her
animals, breeding wild coyotes and selling the offspring, breeding and selling foxes as pets and the
accusation of the Respondent being a psychologically unstable hoarder (among even more
allegations) simply are not true. It is highly unethical, thus unprofessional, for such agency staff to
be making such ludicrous and unfounded accusations in turning local authorities and officials
against the Respondent, as well as her colleagues and others. Not only do such actions show the
ethical bankruptcy in the officers' dealings with licensees and the public but it is also indicative of
their need to supplement a case with false statements and accusations. Mostly, these actions by
Powell give others insight as to how personal he made the prosecution of the Respondent.

LACK OF SOUNDNESS IN JUDGMENT BY THE SECRETARY RESULTING IN
UNEQUAL TREATMENT OF LICENSEES

It has become increasingly apparent that the agency will not take proper steps in resolving
conflicts concerning a licensee against whom they have a grudge. It is also apparent the Secretary
takes to the extreme his privilege to ".. issue licenses to dealers and exhibitors upon application

 

© It appears the ALJ helped the effort a bit by including the allegation of unlawful possession of animals in his decision
which wasn't even part of the Motion for Summary Judgment argument nor the answer to the MS} from the Respondent.
Most importantly, the charge was dismissed and never proven thereby violating the Respondent's right to due process.

7 consists of involved staff from the USDA and the DEC, Tyler Thomas and his partner, Nicholas Stacey.

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for a license in such form and manner as the Secretary of Agriculture may prescribe." (7 U.S.C. 3
2133).

However, such privileges should also coincide with existing laws and regulations without
depriving the licensee of any constitutional right. Such privilege should also respect and exist in
obeyance of other applicable laws such as the Small Business Non-Retaliation Act, Access to

Justice Act, etc.

By selectively enforcing the law against the Respondent results in an abuse of process and
a complete disregard for other protective laws such as those previously mentioned. It is vital the
Secretary abide by all rules, regulations, and laws, especially when prosecuting a person as the
termination, revocation or suspension of licensure affects business and commerce thus the way the

licensee makes a living.

From the Respondent's point of view, the Secretary and NYSDEC Commissioner pay no
mind to any rule, regulation, or statute, nor any facts or statements which contradict the established
goal of the government in proceeding against a licensee in order to take away licensure. Hence,
any hearing or involvement of a judge, although giving the semblance of due process, is normally
the agency going through the steps but already acting upon a predetermined opinion and decision
according to what agency staff and other government agencies want. This simply is not due process.

At every step of the way, there has been some degree of deprivation of due process from the
phone call between the Respondent and Powell in November 2015, during proceedings from the
town court appearances and the plea to the proceeding presided over by ALJ Channing Strother.
The prosecution should always have an up-hill battle in the burden of proof required to convict a
licensee. Unfortunately, at the very most, all that exists is a plateau.

Date: April 27, 2020

 

Carrie M. Leo, Respondent
3199 Walworth Road
Walworth, NY 14568

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VERIFICATION

WAYNE COUNTY |
NEW YORK STATE

Carrie M. Leo, being duly sworn, depose and say, that she is the Petitioner in the entitled action; that she
has read the foregoing Petition and knows the contents therein, that this Petition is true to her own knowledge,
except as to matters stated to be alleged upon information and belief, and as to those matters they believe to be

true.

Date: April 27, 2021

 

A
Sworn to hefore me this 27" day of April 2021
UNpo. |
V L/S ’ Y
Notary Public ana ;

    

ay Comonnnson Expires Now 23"

  

   

Carrie M. Leo, Petitioner pro se
3199 Walworth Road

Walworth, NY 14568

ph: (315) 538-8316
carrieleol5@gmail.com

CERTIFICATE OF SERVICE

IT 1S HEREBY CERTIFIED that a copy of the within Complainant Carrie Leo's Petition has been
served upon the NYSDEC by way of representing counsel of record, Brittany Haner, using her email

address brittany. haner@ag.ny.gov.

VIA EMAIL brittany.haner@ag.ny.gov
Brittany M. Haner, Esq.

Assistant Attorney General

NYS Office of the Attorney General
Environmental Protection Bureau
The Capitol | Albany, New York 12224
Telephone: (518) 776-2389

Fax (518) 650-9364

email: Brittany. Haner@ag.ny.gov

Dated: Walworth, New York
April 27, 2021

By:

 

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UNITED STATES DEPARTMENT OF AGRICULTURE
BEFORE THE SECRETARY OF AGRICULTURE

In re: )
)
Carrie Leo, an individual, doing business as ) - 2.
Caring for Cottontails Wildlife Rescue & ) AWA Docket No. 20-J-0118
Rehabilitation, Inc., a New York State corporation, )
)
)

Respondent.

DECISION AND ORDER GRANTING COMPLAINANT’S MOTION FOR
SUMMARY JUDGMENT AND DENYING RESPONDENT’S CROSS-MOTIONS
FOR DISMISSAL OF ORDER TO SHOW CAUSE AND SUMMARY JUDGMENT

Appearances:

John V. Rodriguez, Esq., with the:Office of the General Counsel, United States Department of
Agriculture, Washington, DC: fonthe Complainant, the Administrator of the Animal and Plant
Health Inspection Service (“APHIS”)

Carrie Leo, pro se Respondent »

Before Channing D. Strother, Chief Administrative Law Judge

Preliminary Statement

This is a proceeding under the Animal Welfare Act, as amended (7 U.S.C. §$§ 2131 ef
seq.) (“AWA”); the regulations promulgated thereunder (9 C.F.R. §§ 1.1 ef seq.)
(“Regulations”); and the Rules of Practice Governing Formal Adjudicatory Proceedings
Instituted by the Secretary Under Various Statutes (7 C.F.R. §§ 1.130 ef seg.) (Rules of
Practice”). The matter initiated on April 21, 2020 with an Order to Show Cause Why Animal
Welfare Act License 21-C-0435 Should Not Be Terminated (“Order to Show Cause”) filed by
the Administrator of the Animal and Plant Health Protection Service, United States Department
of Agriculture “APHIS” or “Complainant”).

On June 19, 2020, Complainant filed a Motion for Summary Judgment against Carrie

Leo, an individual doing business as Caring for Cottontails Wildlife Rescue & Rehabilitation
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Center, Inc., a New York State corporation (“Respondent”), including a Memorandum of Points
and Authorities, based on section |.143(b) of the Rules of Practice (7 C.F.R. § 1.143(b)). On July
30, 2020, Respondent filed an answer to Complainant’s Motion, wherein Respondent raised
affirmative defenses and set forth counter-motions for dismissal of Complainant’s Order to Show
Cause and summary judgment. Complainant filed a response thereto on August 3, 2020.

Based on careful review of the pleadings and evidence before me, I find there are no
issues of material fact to warrant a hearing in this matter. As set out further below, I find that
Respondent’s actions render her unfit to hold an AWA license as she (1) would be operating in
violation or circumveniid of State or local laws and (2) has been found to have viblated State or
local laws or regulation$!pertaining to the transportation ownership, neglect, or Welfbie of
animals. Therefore, Complainant’s Motion for Summary Judgment shall be granted, and
Respondent’s AWA license shall be terminated. For the same reasons, as also set forth below,
Respondent’s counter-motions for dismissal and summary judgment shall be denied.

This Decision and Order is based upon consideration of the record evidence; the
pleadings, arguments, and explanations of the parties; and controlling law.

Jurisdiction and Burden of Proof

The AWA vests the United States Department of Agriculture (“USDA”) with the
authority to regulate the transportation, purchase, sale, housing, care, handling, and treatment of
animals subject to the AWA.! Pursuant to the AWA, persons who sell and transport regulated

animals, or who use animals for research for exhibition, must obtain a license or registration

 

! See 7 U.S.C. §§ 2131, 2133; Pub. L. No. 99-198 § 1752, 99 Stat. 1354, 1645 (1985) (codified
at 7 U.S.C. § 2143(a) (1994)); Animal Legal Defense Fund, Ine. v. Perdue, 872 F.3d 602, 607-08

(D.C. Cir. 2017).
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issued by the Secretary of Agriculture.* Further, the AWA authorizes the Secretary to
promulgate appropriate regulations, rules, and orders to promote the purpose of the AWA.? The
AWA and related Regulations fall within the enforcement authority of the Animal and Plant
Health Inspection Service (“APHIS”), an agency of USDA.’ APHIS is the agency tasked to
issue licenses under the AWA.°

As noted above, APHIS filed its Order to Show Cause® pursuant to the Rules of Practice,
which apply to the AWA and related Regulations. The case was assigned to me on June 9, 2020
and is properly: before me for resolution.

APHISias the proponent of an order against Respondent in this piiaseeding, has the
burden of proafi- The standard of proof applicable to adjudicatory proceedings under the

Administrativé:Procedure Act, such as this one, is the preponderance of the evidence.®

 

7 US.C. § 2133.
3-7U.S.C. § 2151.

4 See ALDF v. Perdue, 872 F.3d at 607; Animal Welfare; Inspection, Licensing, and
Procurement of Animals, 69 Fed. Reg. 42089, 42089 (July 14, 2004) (to be codified at 9 C.P.R.

pts. 1, 2).
> ALDF, 872 F.3d at 607-08.

® See 7 C.F.R. § 1.132 (“Complaint means the formal complaint, order to show cause, or other
document by virtue of which a proceeding is instituted.”).

7 SU.S.C. § 556(d).

8 Herman & MacLean v. Huddleston, 459 U.S. 375, 387-92 (1983); Steadman v. SEC, 450 U.S.
91, 92-104 (1981); White, 73 Agric. Dec. 114, 153 (U.S.D.A. 2014); Tri-State Zoological Park
of W. Md., 72 Agric. Dec. 128, 174 (U.S.D.A. 2013); Pearson, 68 Agric. Dec. 685, 727-28
(U.S.D.A. 2009), aff'd, 411 F. App’x 866 (6th Cir. 2011); Schmidt, 66 Agric. Dec. 159, 178
(U.S.D.A. 2007); Lawson, 57 Agric. Dec. 980, 1015 (U.S.D.A. 1998) (“The standard of proof in
administrative proceedings conducted under the Animal Welfare Act is preponderance of the
evidence.”); Lawson, 57 Agric. Dec. 980, 1098 (U.S.D.A. 1998) (“Complainant has the burden
of proving a violation of the Animal Welfare Act and [the] Regulations [and Standards] by a
preponderance of the evidence.”) (citing Lesser, 52 Agric. Dec. 155, 166 (U.S.D.A. 1993), aff'd,
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Furthermore, the Judicial Officer has set forth the standard for summary judgment ina

proceeding before a USDA Administrative Law Judge as follows:

The Summary Judgment Standard

The Rules of Practice do not specifically provide for the use or exclusion
of summary judgment; however, I have consistently held that hearings are futile
and summary judgment is appropriate in proceedings in which there is no factual
dispute of substance. A factual dispute of substance is present if sufficient
evidence exists on each side so that a rational trier of fact could resolve the
dispute either way and resolution of the dispute is essential to the proper
disposition of the claim. The mere existence of some factual dispute will not
defeat an otherwise properly supported motion for summary judgment because the

-fact dispute must be material. The usual and primary purpase of summary
judgment is to isolate and dispose of factually unsupported claims or defenses.

ary If the moving party supports its motion for summary judgment, the burden
--iikhifts to the non-moving party who may not rest on merev4llegation or denial in
acthe pleadings, but must set forth facts showing there is a genuine issue for trial. In
_ £#¢setting forth such facts, the non-moving party must identify the facts by reference
“sto depositions, documents, electronically stored information, affidavits,
declarations, stipulations, admissions, interrogatory answers, or other materials. In
~~-ruling on a motion for summary judgment, all evidence must be considered in the
_23-light most favorable to the non-moving party with all justifiable inferences to be
“drawn in the non-movant’s favor. —_

Knaust, 73 Agric. Dec. 92, 98-99 (U.S.D.A. 2014) (footnotes omitted).
Statutory and Regulatory Authority
Congress enacted the AWA, in part, “to insure that animals intended for use in research
facilities or for exhibition purposes or for use as pets are provided humane care and treatment.”?
To achieve this purpose, Congress provided that the “Secretary shall issue licenses to dealers and

exhibitors upon application therefor in such form and manner as he may prescribe[.]”!° The

 

34 F.3d 1301 (7th Cir. 1994)).
9 7US.C. § 2131(1).
0 TUS. § 2133.
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power to require and issue licenses under the AWA includes the power to terminate a license and
to disqualify a person whose license has been terminated from becoming licensed. !!

The AWA authorizes the Secretary of Agriculture to “promulgate such rules, regulations,
and orders as he may deem necessary in order to effectuate the purposes of [the Act].”!? The
Regulations specify certain bases for denying an initial application for an AWA license!? and
further state that an AWA license may be terminated for any reason that an initial license
application may be denied.'* Applicable here is section 2.1! (a) of the Regulations (9 C.F.R. §

»22.11(a)), which provides that a “license will not be issued:to any applicant who ... [i]s or was

»15 or “has been found

Staoperating in violation or circumvention of any Federal, State, or local laws
auito have violated any Federal, State, our local laws or regulations pertaining to the transportation,
: 2’: ownership, neglect or welfare of animals, or is otherwise unfit to be licensed and the

Administrator determines that the issuance of a license would be contrary to the purposes of the

-Act.”!6

Procedural History

APHIS initiated this proceeding on April 21, 2020 by filing an order to show cause why

 

'! See Bauck, 68 Agric. Dec. 853, 856, 862 (U.S.D.A. 2009), appeal dismissed, No. 10-1138
(8th Cir. Feb. 24, 2010); Animals of Mont., Inc., 68 Agric. Dec. 92, 105-06 (U.S.D.A. 2009);
Bradshaw, 50 Agric. Dec. 499, 507 (U.S.D.A. 1991).

2 7U.S.C. § 2151.
3 See 9C.F.R. § 2.11.

4 O C.F.R. § 2.12 (“A license may be terminated during the license renewal process or at any
other time for any reason that an initial license application may be denied pursuant to § 2.11 after

a hearing in accordance with the applicable rules of practice.”).
SO C\F.R. § 2.11 (a)(5).
'6 O C.F.R. § 2.11 (a)(6).
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Respondent’s AWA license should not be terminated (“Order to Show Cause”).!? The Order to

Show Cause states, in pertinent part:

The Respondent pled guilty to two violations of the State law of New
York pertaining to the welfare and ownership of animals, and maintaining
accurate records involving animals. The Respondent’s state LCPEE license has
been revoked, based in part, on the two violations of State law pertaining to
animals and maintaining accurate records involving the animals. The
Respondent’s actions render her unfit to hold an AWA license as she: 1. would be
operating in violation or circumvention of State or local laws; 2. has been found
to have violated State or local laws or regulations pertaining to the transportation,
ownership, neglect, or welfare of animals; and 3. has refused to provide APHIS
officials access for inspection. The Administrator has determined that the
Respondent’s continuous possession of an AWA license would be contrary to the
purpose of the Act, and that said license should be terminated.

Order to Show Cause at 4. Moreover, the Order to Show Cause requested “this proceeding be
decided based upon the written record, or by summary judgment; or, alternatively, following an
oral hearing in conformity with the Rules of Practice governing proceedings under the Act; and

that such order or orders be issued as are authorized by the Act and warranted under the

circumstances.” !®

On June 2, 2020, Respondent filed an answer that admitted some allegations of the Order

to Show Cause, denied other allegations of the Order to Show Cause, and raised thirteen

“affirmative defenses.” !?

'7 The Order to Show Cause included five attachments: (1) New York State Department of
Environmental Conservation, License to Collect or Possess Education/Exhibition: License
Information/Conditions; (2) New York State Arrest Records for Carrie M. Leo; (3) Certificate of
Conviction in Case No. 16080141 (State of New York, Wayne County, Macedon Town Court);
(4) July 20, 2018 Hearing Report of Richard A. Sherman, Administrative Law Judge (DEC Case
No. OHMS 2017-72265); (5) November 7, 2018 Order of the Commissioner (DEC Case No.
OHMS 2017-72265).

18 Order to Show Cause at 4-5.

1 See Answer at 1-7. The Answer also included an attachment: “Answer to Commissioner
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On June 16, 2020, I issued an order (“Exchange Order”) setting deadlines for prehearing
submissions by each party.?°

On June 19, 2020, APHIS filed a Motion for Summary Judgment “based on section
1.143(b) of the Rules of Practice that govern proceedings under the Animal Welfare Act (7
C.F.R. § 1.143(b)), on all of the pleadings and papers on file herein and on [an] attached
memorandum of points and authorities.”?! On July 30, 2020, following two extensions of time,??
Respondent filed an “Answer to Complainant’s Motion for Summary Judgment & Counter-

Motion” that included several exhibits.7? Respondent’s Counter-Motion asserted that

“Complainant’s Order to Show Cause Should be Dismissed in its entirety upon summary

 

Seggos’ Final Determination of November 7, 2018” (“Attachment 1”).

20 Pursuant to the Exchange Order, Complainant had until August 17, 2020 to file with the
Hearing Clerk a list of exhibits and witnesses and to send copies of its exhibits and list to
Respondent. Respondent was given until October 16, 2020 to do the same. See Exchange Order
at 1-2. Complainant filed its Witness and Exhibit List on August 17, 2020. Respondent has not
filed a list of witnesses and exhibits, but her deadline for doing so has yet to pass. On August 18,
2020, Respondent filed a “Request to Produce Documents” and “Notice of Objection to
Complainant’s Exhibit List.” Given the herein ruling of summary judgment against Respondent,
however, it is unnecessary for me to reach a determination on Respondent’s Request and
Objection.

21 Motion for Summary Judgment at 1. The Motion includes a““MEMORANDUM OF POINTS
AND AUTHORITIES and an “ATTACHMENT 1,” composed of Respondent’s AWA license
documents.

22 See Order Granting Respondent’s Unopposed Request for Extension of Time to Respond to
Complainant’s Motion for Summary Judgment (filed July 14, 2020); Order Granting
Respondent’s Second Request for Extension of Time to Respond to Complainant’s Motion for
Summary Judgment (filed July 24, 2020).

23 The “Exhibit List” included with Respondent’s Answer and Counter-Motion identified the
following: (1) “Respondent’s Letter to USDA General Counsel, Steve Vaden,” dated
04/22/2019; (2) “Email Thread between Rodriguez and Leo,” dated 03/26/2020; (3) “Email from
Respondent to Complainant,” dated 04/03/2020; (4) “Letters indicating incomplete and/or
inaccurate paperwork,” dated “various”; (5) “Email between state and federal staff members,”
dated “pending”; and (6) “Images of Opossum Bacterial Infections,” dated 8/17/2019. However,
the cover pages for Exhibits 4 and 5 were marked “pending” with no actual documents to follow.
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judgment in favor of the Respondent.””4

On August 3, 2020, Complainant filed a “Response to Respondent’s Answer to
Complainant’s Motion for Summary Judgment” that “move[d] for immediate summary judgment
to have the Respondent’s AWA license 21-C-0435 terminated without a hearing” and “move[d]
for denial of Respondent’s counter-motion.””> Respondent filed an Exhibit 5 on August 5, 2020

and Exhibits 4A, 4B, 4C, and 5 on August 10, 202076 2?

 

24 Respondent’s Answer to Camplainant’s Motion for Summary Judgment (“Answer to MSJ”) at
21.

25 Response to Respondent’s Answer to Complainant’s Motion for Summary Judgment hic
(“Response to Answer to MS£:)tat 7. The Response included two attachments: (1) print-out of
U.S. DEP’T OF AGRIC., ANIMAL & PLANT HEALTH INSPECTION SERVS., ENFORCEMENT
SUMMARIES, https://www.aphis.usda.gov/aphis/ourfocus/business- “ak
services/ies/ies_performance_, metrics/ies- panels/enforcement-summaries; and (2) print-out of
N.Y. ENVTL. CONSERV. LAW §'71-4001 (McKinney 2019). In the Response, Complainant’ *
requested that “Respondent be denied from supplementing her Answer MSJ and filing and
further motions as to the MSJ after 4:30 p.m. Eastern on Friday, July 31, 2020.” Jd. at 6 (noting
that Respondent “failed to file Exhibits [4 and 5] to her Answer MSJ”). I did not grant _
Complainant’s request, as Complainant failed to show how it would be prejudiced by
supplementation.

26 The “Exhibit 5” filed on August 5, 2020 includes two emails-—one from William V. Powell
and one from Andrea D’Ambrosio — as well as Respondent’s explanations regarding said emails.
The August 10, 2020 exhibits include: documents relating to the denial of Respondent’s LCPEE
application (Exhibit 4A); documents relating to the renewal application of a different licensee
(Exhibit 4B); a letter that purportedly serves as an “example [of] many wildlife rehabilitators

who turn in annual rehabilitation logs grossly late for submission” (Exhibit 4C); and emails from
William V. Powell and Andrea D’ Ambrosio, as well as Respondent’s explanations regarding
said emails (Exhibit 5) (same as Exhibit 5 filed on August 5, 2020).

27 On August 25, 2020, Complainant filed a “Motion to Strike Respondent’s Answer to
Complainant’s Motion for Summary Judgment Exhibits 4 & 5.” However, the Motion fails to
demonstrate how Complainant would be prejudiced by my admitting Respondent’s exhibits to
the record, and Complainant’s sole reason for objecting appears to be that the exhibits were filed
after Respondent’s deadline to answer Complainant’s Motion for Summary Judgment had
passed. See Motion to Strike at 2-3; Erickson v. Pardus, 551 U.S. 89, 94 (2007) (“A document
filed pro se is to be liberally construed, and a pro se [party], however inartfully pleaded, must be
held to less stringent standards than formal pleadings drafted by lawyers.”) (internal quotations
omitted). Therefore, Complainant’s Motion to Strike Respondent’s Exhibits 4 and 5 is DENIED.
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Summary of the Evidence”*
A. Admissions
In her Answer to APHIS’s Order to Show Cause, Respondent failed to deny—and

therefore admitted2? that she is an individual doing business as Caring for Cottontails Wildlife
& Rescue Rehabilitation, Inc.; that she operated as an exhibitor, as that term is defined in the Act
and Regulations; and that she held AWA license 21-C-0435. Respondent further admitted she
was convicted of two offenses in the State of New York, Wayne County: (1) failing to provide
proper caging facilities:for opossums in violation of Condition #10 of her New York State
License to Collect orPassess Education/Exhibition (“LCPEE”); and (2) failing, to submit an
accurate and complete fispection report in violation of Condition #22 of her LCPEE.*? In
addition, Respondent:admitted that on or about November 7, 2018, the Commissioner of the
New York State Department of Environmental Conservation issued an order revoking
Respondent’s New York State LCPEE (DEC Case No. OHMS 201 7-72265).?! : :

B. Documentary Evidence

APHIS Exhibits??

 

28 This Decision and Order relies upon the pleadings and upon declarations and documentary
evidence attached to APHIS’s Order to Show Cause, Respondent’s Answer to Notice to Show
Cause, APHIS’s Motion for Summary Judgment, Respondent’s Answer to Motion for Summary
Judgment and Counter-Motion, APHIS’s Response to Respondent’s Answer to Motion for
Summary Judgment and Counter-Motion, and the exhibits filed by Respondent on August 5,
2020 and August 10, 2020.

29 See 7 C.F.R. § 1.136(b)(1),(c); Answer at 1-2.
30 See Answer at 1.

31 Jd at 2.

32 Official notice is taken of CX-3 (Certificate of Conviction in Case No. 1608131, State of New
York, Wayne County, Macedon Town Court), CX-4 (Hearing Report of ALJ Richard A.
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CX-] New York State Department of Environmental Conservation, License to
Collect or Possess — Education/Exhibition: License Information/Conditions

CX-2 New York State, Arrest Records for Carrie M. Leo

CX-3 Certificate of Conviction in Case No. 1608141 (State of New York, Wayne
County, Macedon Town Court)

CX-4 July 20, 2018 Hearing Report of Richard A. Sherman, Administrative Law Judge
(DEC Case No. OHMS 2017-72265)
CX-5 November 7, 2018 Order of the Commissioner (DEC Case No. OHMS 2017-
#4.72265)
CX-6 8A WA Class C Exhibitor License Documents (No. 21-C-0435)°?
CX-7 {5éPrint-out of APHIS’s “Enforcement Summaries” webpage from USDA.gov
CX-8 yk Print-out of McKinney’s Consolidated Laws of New York Annotated § 71-4001

Respondent Exhibits

RX-1] Answer to Commissioner Seggos’s Final Determination of November 7, 2018

RX-2 April 22, 2019 Letter from Respondent to Secretary Sonny Perdue (CC to Steven
Vaden, General Counsel)

RX-3 March 2020 email thread between Respondent and John V. Rodriguez

 

Sherman, DEC Case No. OHMS 2017-72265), and CX-5 (Order of the Commissioner, DEC
Case No. OHMS 2017-72265). 7 C.F.R. § 1.141(h)(6).

33 These documents include: Application for License Renewal dated 7/23/19; AWA License
Certificate No. 21-C-0435 (Expiration Date: August 25, 2020); Application for License Renewal
dated 8/17/18; AWA License Certificate No. 21-C-0435 (Expiration Date: August 25, 2019);
Application for License Renewal dated 7/31/17; AWA License Certificate No. 21-C-0435
(Expiration Date: August 25, 2018); Application for License Renewal dated 8/19/16; AWA
License Certificate No. 21-C-0435 (Expiration Date: August 25, 2017); Application for License
Renewal dated 8/1/15; AWA License Certificate No. 21-C-0435 (Expiration Date: August 25,
2016); Application for License (New License) dated 1/4/13; AWA License Certificate No. 21-C-

0409 (Expiration Date: February 28, 2014).

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RX-4 April 3, 2020 email from Respondent to John V. Rodriguez

RX-5A New York State Department of Environmental Conservation, Notices of
Application/License Denial

RX-5B Documents from renewal application of unidentified licensee, with explanation by
Respondent
RX-5C September 25, 2005 letter from Elise Able of Fox Wood Wildlife Rescue, Inc.,

with explanation by Respondent
RX-6_ Images of bacterial infections in the Virginia opossum

RxXed > May !2, 2017 email from William V. Powell and:March 29, 2017 email from
Andrea D’ Ambrosio, with explanations by Respondent
Bee ae
cl: Thereby admit to the record all of the exhibits identified herein above.
Discussion

oa As previously noted, an administrative law judge may enter summary judgment if the
pleadings, affidavits, or other materials show there is no genuine issue as to any material fact.*4
An issue is “genuine” if sufficient evidence exists on each side so that a rational trier of fact

could resolve the issue either way, and an issue of fact is “material” if under the substantive law

it is essential to the proper disposition of the claim.*> The mere existence of some factual dispute

 

4 Veg-Mix, Inc. v. U.S. Dep’t of Agric., 832 F.2d 601, 607 (D.C. Cir. 1987) (affirming the
Secretary of Agriculture’s use of summary judgment under the Rules of Practice and rejecting
Veg-Mix, Inc.’s claim that a hearing was required because it answered the complaint with a
denial of the allegations); see also Livingston Care Ctr. v. Dep't of Health & Human Servs., 108
F. App’x 350, 354 (6th Cir. 2004) (“This Court recently determined that the rule which allows
administrative law judges to grant a summary judgment without an in-person haering is legally

enforceable.”).

35 Wallace v. Leidos Innovations Corp., 805 F. App’x 389, 392 (6th Cir. 2020); Adler v. Wal-
Mart Stores, Inc., 144 F.3d 664, 670 (10th Cir. 1998);

1]
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will not defeat an otherwise properly supported motion for summary judgment, as the factual

dispute must be “material to an issue affecting the outcome of the case.” 6

If the moving party supports its motion, the burden then shifts to the non-moving party.?”
The non-moving party may not rely upon the mere allegations or denials of her pleading; rather,
must offer specific facts showing there is a genuine issue for hearing.*® The non-moving must

identify such facts by reference to affidavits, depositions, transcripts, or specific exhibits.*? The

non-moving party may not rest upon ignorance of facts, on speculation, or on suspicion and may

2¥e~ not escape summary judgment in the mere hope that something will turn up at hearing.*°

HANG

However, all evidence must viewed in the light most favorable to the non-moving party.*!
1. No Genuine Issue of Material Fact
The material facts are not in dispute in this case, anda hearing is therefore unnecessary,
As previously discussed, sections 2.11 and 2.12 of the Regulations (9 C.F.R. §§ 2.11 and 2.12)

authorize the Department to terminate the AWA license of any person, at any time, who “[i]s or

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was operating in violation or circumvention of any Federal, State or local laws”"” or “has been

36 Haves v. City of Miami, 52 F.3d 918, 921 (11th Cir. 1995) (citing Anderson, 477 U.S. at 247-
49; Spencer v. Zimmerman, 873 F.2d 256, 257 (11th Cir. 1989)); see Schwartz v. Bhd. of
Maintenance Way Employees, 264 F.3d 1181, 1183 (10th Cir, 2001).

37 See Celotex Corp. v. Catrett, 477 U.S. 317, 331 (1986); Anderson v. Liberty Lobby, Inc., 477
U.S. 242, 249 (1986).

38 Celotex Corp., 477 U.S. at 324; see also Lujan v. Defenders of Wildlife, 504 U.S. 555, 561
(1992); Muck v. United States, 3 F.3d 1378, 1380 (10th Cir. 1993).

3° Conaway v. Smith, 853 F.2d 789, 792 (10th Cir. 1988)

4° Td. at 793-94.

4! Tolan y. Cotton, 572 U.S. 650, 656-57 (2014); Anderson, 477 U.S. at 242-43; Adickes v. S.H.
Kress & Co., 398 U.S. 144, 158-59 (1970).

42 9 C.F.R. § 2.11(a)(5).

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found to have violated any Federal, State, or loca! laws or regulations pertaining to the
transportation, ownership, neglect, or welfare of animals, or is otherwise unfit to be licensed and
the Administrator determines that the issuance of a license would be contrary to the purposes of
the Act.”“3 As set out herein, the record is undisputed that Respondents have “been found to
have violated... Federal, State, or local laws or regulations pertaining to the transportation,
ownership, neglect, or welfare of animals . . .”44 Thus, Complainant has met its burden of
showing that Respondent’s actions render her unfit to hold an AWA license as she (1) would be
operating in violation or circumvention of State and local laws and (2) has been found to have
violated State or local laws or regulations related to the ownership and welfare of animals.

It is undisputed that on or about December 12, 2017, the State of New York, Wayne
County, in Case No. 1608141, convicted Respondent of the offenses cited in Arrest Records
BF0195322 and BF0195333.*° In fact, Respondent pleaded guilty to both offenses," each of
which pertains to the transportation, ownership, neglect, or welfare of animals: (1) failing to
provide proper caging facilities for opossums in violation of LCPEE #623 Condition 10 and (2)
failing to submit an accurate and complete exhibition report in violation of LCPEE #623

Condition 22.47 Respondent’s guilty pleas and convictions meet the standard imposed by 9

C.F.R. § 2.11(a)(6).”

439 CFR. § 2.1 1(a)(6).
“49 CFR. § 2.11(a)(5).
45 See CX-3.

6 See id.

47 See CX-2; CX-3.

48 See 9 C.F.R. § 2.11(a)(6) (“A license will not be issued to an applicant who . . . has pled nolo
contendre (no contest) or has been found to have violated any Federal, State, or local laws or

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Further, Complainant has established that Respondent’s LCPEE (New York State
License to Collect or Possess — Education/Exhibition) was revoked. There is no dispute that on
or about July 20, 2018, after an administrative hearing, DEC Administrative Law Judge Sherman
(“ALJ Sherman”) recommended that DEC Commissioner Basil Seggos (“Commissioner
Seggos”) issue an order revoking Respondent’s LCPEE.”? The recommendation was based in
part on Respondent’s failure to submit timely reports to the DEC (the conviction of Arrest
Record BF0195333) and failure to comply with the terms and conditions of LCPEE #623 (the
conviction of Arrest Record BF0195322).°° There also is no dispute that on or about November*
7, 2018, Commissioner Seggos, in fixe Carrie Leo, DEC Case No. OHMS 2017-72265, issuedia::
decision upon ALJ Sherman’s recommendation and revoked Respondent’s New York State
license, LCPEE #623.°! There is no:question that allowing Respondent to maintain her AWA ;
license would empower her to circumvent the revocation of her New York State LCPEE in
violation of 9 C.F.R. § 2.1 1(a)(5).

Complainant has proven by a preponderance of the evidence that Respondent qualifies:

for license termination pursuant to both 9 C.F.R. §§ 2.11(5) and 2.1 1(6).°? Accordingly, I find

 

regulations pertaining to the transportation, ownership, neglect, or welfare of animals[.]”).
49 See CX-4.
°° See id.

>! See CX-S.

52 See 9 C.F.R. § 2.11(a)(5) (“A license will not be issued to an applicant who .. . [i]s or would
be operating in violation or circumvention of any Federal, State, or local laws[.]”); Ludwig, 71
Agric. Dec. 449, 454 (U.S.D.A. 2012) (finding the petitioner’s failure to maintain a state license
met the standards imposed in 9 C.F.R. § 2.11 (a)(5)).

53 See Ash, 71 Agric. Dec. 900, 913-14 (U.S.D.A. 2012) (holding that termination was the
appropriate sanction where the “proceeding was instituted under the authority of the Secretary of
Agriculture to terminate an Animal Welfare Act license and the Administrator consistently

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that summary judgment in favor of Complainant is appropriate in this case.

II. Respondent’s Defenses

Respondent raises several defenses in response to both the Order to Show Cause and
Complainant’s Motion for Summary Judgment. As discussed below, however, these
arguments for which Respondent fails to cite any supporting legal authority are without merit
or are immaterial to the summary disposition of this case. Moreover, Respondent’s filings are
devoid of the type of supporting documentation necessary to establish a genuine issue for
hearing.

First, Respondent danies that “both allegations [in the Arrest Records] were truer
‘offenses.’”°> I reject this argument, as the record shows that the convictions resulting from
those Arrest Records were substantiated numerous times. First, the offenses were substantiated
on or about December 12, 2017, when the State of New York, Wayne County, in Case No,
16080141, convicted Respondent of the two offenses.*° The offenses were also substantiated on
or about July 20, 2018, in'Jn re Carrie Leo, DEC Case No. OHMS 2017-72265, where *

Respondent admitted to pleading guilty to the two offenses and DEC met its burden to establish

 

sought termination of [Respondent’s] Animal Welfare Act license”).

54 See Bauck, 68 Agric. Dec. 853, 858 (U.S.D.A. 2009), appeal dismissed, No. 10-1138 (8th Cir.
Feb. 24, 2010) (“I have repeatedly held summary judgment appropriate in cases involving the
termination of an Animal Welfare Act license and disqualification from becoming licensed under
the Animal Welfare Act based upon prior criminal convictions. Hearings are futile where, as in
the instant proceeding, there is no factual dispute of substance.”) (citing Animals of Mont., Inc.,
68 Agric. Dec. 92, 104 (U.S.D.A. 2009); Amarillo Wildlife Refuge, Inc., 68 Agric. Dec. 77, 81
(U.S.D.A. 2009); Vigne, 67 Agric. Dec. 1060, 1060-61 (U.S.D.A. 2008); Levinson, 65 Agric.
Dec. 1026, 1028 (U.S.D.A. 2006)).

55 Answer at 1 45.

© See supra note 44 and accompanying text.

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that Respondent violated Condition 10 of her LCPEE by failing to provide proper caging
facilities for opossums*’ and Condition 22 of her LCPEE by failing to submit the LCPEE report
form.*® The offenses were again substantiated on or about November 7, 201 8, in in re Carrie
Leo, DEC Case No. OHMS 2017-72265, when Commissioner Seggos issued a decision upon the
recommendation of ALJ Sherman and revoked Respondent’s New York State LCPEE #623
based in part on the two offenses.°? Finally, the offenses were substantiated on or about June 2,
2020, in Respondent’s Answer to the Order to Show Cause.® Even assuming, arguendo, that
Respondent’s convictions of the Arrest Records were not qualifying offenses, to allow
Respondent to contiiue holding her AWA license would nonetheless allow hes to circumvent the
revocation of LCPEE #623.°!

Second, Respondent contends that the Order to Show Cause “is purposely vague.”° As
Complainant correctly points out,©? the Rules of Practice simply require that a complaint or
order to show cause “state briefly and clearly the nature of the proceeding, the identification of
the complainant-and-the respondent, the legal authority and jurisdiction under the proceeding is
instituted, the allegations of fact and provisions of law which constitute a basis for the
proceeding, and the nature of the relief sought.” I find that the Order to Show Cause satisfies

7 CX-4 at 12.

°8 CX-4 at 9.

°° See supra note 50 and accompanying text.
69 Answer at 1 §[5.

6 See supra note 51 and accompanying text.
6 Answer at 3.

63 See Motion for Summary Judgmentat 9.

6 7 CFR. § 1.135(a).

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each of these requirements, and is therefore not impermissibly vague.© Therefore, Respondent’s
contention that summary judgement should be denied because the Order to Show Cause is
“purposely vague” is rejected.

Third, Respondent asserts that her New York State LCPEE #623 was improperly revoked
for numerous reasons.®° The issue to be determined in this AWA license-termination proceeding
before me is whether Respondent has been found to have violated State or local laws or
regulations related to the ownership and welfare of animals. Respondent does not deny that she
has been so found but posits that those findings were improper, which.is, in essence, a collateral
attack omtheistate proceedings, which is something beyond the scoptiof this AWA license-
terminatiep-proceeding, and, therefore, will not be entertained. If Réspondent wishes to contest

her LCPEE. revocation she must turn to the State Courts of New York; as that is the proper forum

in which to direct her argument.®”

-Eourth, Respondent states it is her “understanding she pled-with Alford Pleas therefore
not allowing the citations to be able to be used against her again in-another proceeding such as
this administrative proceeding.”©® This argument lacks merit. While Respondent offers no actual
evidence that an Alford plea was made, Complainant’s evidence shows that Respondent pleaded

guilty to two offenses.© An Alford plea allows a defendant to plead guilty to and to accept a

 

65 See Order to Show Cause at 1-5.

6 Answer at 4.
67 Bauck, 68 Agric. Dec. at 863.

68 Answer at 4; see also Respondent’s Answer to MSJ at 18.

6 See CX-3.
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guilty verdict and conviction as to criminal charges, while maintaining innocence as to them.”
Even if Respondent were able to show that her convictions were indeed based on A/ford pleas, an
Alford plea is nonetheless a guilty plea and the conviction a conviction;”! it would not change
the fact that Respondent was found by the State of New York, Wayne County, to have violated a
law or regulation relating to the transportation, ownership, neglect, or welfare of animals, 7?
Further, if a nolo contendre plea would have been adequate grounds to terminate Respondent’s
license, a guilty plea certainly suffices. And as Complainant correctly states: “In the end it
really doesn’t matter because Respondent’s state LCPEE license has been revoked and to allow

dagrjto maintain AWA license 21-C-0435 would allow the Respondent to operate in violation or

“circumvention of State or local law.””*

Fifth, Respondent contends that Complainant did “net sufficiently establish[] the element
of willfulness required to revoke Respondent’s license.”’> In its Answer to Complainant’s

Motion for Summary Judgment, Respondent states:

[T]he willfulness factor was discussed in the Answer of the Respondent to the
Complainant’s Order to Show Cause because it can be considered one of the
factors which comprise the egregiousness actions which the government finds
offensive. Willfulness indicates good-faith v. bad-faith and an egregious error or
offense lacks any good faith effort.

 

10 North Carolina v. Alford, 400 U.S. 25, 37 (1970); see United States v. Taylor, 659 F.3d 339,
347 (4th Cir. 2011); United States v. Mancinas-Flores, 588 F.3d 677, 681 (9th Cir. 2009).

1) Abimbola v. Ashcroft, 378 F.3d 173, 181 (2d Cir. 2004); see also United States v. Ramirez-
Gonzalez, 755 F.3d 1267, 1273 (11th Cir. 2014); United States v. King, 673 F.3d 274, 281 (4th

Cir. 2012).

2 See CX-3; King, 673 F.3d at 282-83 (“A court’s acceptance of an A/ford plea, like an
acceptance of a guilty plea, indisputably qualifies as an ‘adjudication.””).

®B 9 CFR. §§ 2.11 (a)(4), 2.12.
™ Complainant’s Response to Respondent’s Answer to MSJ at 5.

7 Answer at 5; see Respondent’s Answer to MSJ at 19.

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Answer to MSJ at 19. The applicable Regulations do not require a showing of willfulness.”°

Section 1.133(b)(3) of the Rules of Practice, however, states:

As provided in 5 U.S.C. 558, in any case, except one of willfulness or one in
which public health, interest, or safety otherwise requires, prior to the institution
of a formal proceeding which may result in the withdrawal, suspension, or
revocation of a “license” as that term is defined in 5 U.S.C. 551(8), the
Administrator, in an effort to effect an amicable or informal settlement of the
matter, shall give written notice to the person involved of the facts or conduct
concerned and shall afford such person an opportunity, with a reasonable time

fixed by the Administrator, to demonstrate or achieve compliance with the

applicable requirements of the statute, or the © regulation, standard, instruction or

order promulgated thereunder. es
7C.F.R. § 1.133(b)(3). Although Complainant doesiuse the term “willful” in its Order to Show
Cause when alleging violations of 7 U.S.C. § 2146(a)-and 9 C.F.R. § 2.126(a),’? Complainant’ s
Motion for Summary Judgment is not based upon:those allegations; they are immaterial to the
outcome of this case.”® Therefore, willfulness is not an element that Complainant need establish,
and neither prior written notice nor an opportunity to demonstrate compliance were required.

Nonetheless, Respondent’s criminal convictions both evidence willfulness and implicate the

ownership and well-being of animals.”” Respondent’s willfulness argument is therefore rejected.

 

% See 9 C.F.R. §§ 2.11 and 2.12.
7 See Order to Show Cause at 296,44 11.

78 See supra note 36 and accompanying text.

™ See Bauck, 68 Agric. Dec. at 861 (U.S.D.A. 2009) (“In a number of proceedings, I have
terminated an Animal Welfare Act license based upon a licensee’s criminal conviction without
any written notice or opportunity to demonstrate or achieve compliance prior to the institution of
the proceeding. The United States Court of Appeals for the District of Columbia Circuit has also
held that criminal convictions fall within the willfulness exception of 5 U.S.C. § 558(c) and,
thus, has upheld license terminations based on criminal convictions without any prior written
notice and opportunity to demonstrate or achieve compliance.”) (citing Kleiman & Hochberg,
Inc. y. U.S. Dep’t of Agric., 497 F.3d 681, 691 (D.C. Cir. 2007), cert. denied sub nom. Hirsch v.
Dep’t of Agric., 128 S. Ct. 1748 (2008); Coosemans Specialties, Inc. v. U.S. Dep't of Agric., 482

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The remainder of Respondent’s “defenses” contend that the Secretary has treated
Respondent unfairly and differently than other AWA licensees. Respondent contends the instant
proceeding is a “shadow trial or judgment” wherein USDA “staff is able to accuse and convict
Respondent of anything they desire and manipulate the law and people in order to achieve such
ends.”®° Respondent provides no evidence that would support these contentions. Here the
Respondent has indisputably been found to have violated State or local laws or regulations
related to the ownership and welfare of animals. The AWA and regulations provide that in such
circumstances Respondent is thereby in violation of the AWA. Nothing herein demonstrates any
untoward actions by USDA “staff” and certainly no ability by USDA staff to convict Respondent | s«+«
of anything USDA staff might desire or to'in any respect manipulate the law or people. The
Secretary has the authority to investigate or inspect “as he deems necessary to determine whether
any ... exhibitor . . . has violated or is violating any provision of [the AWA] or any regulations
or standard issued thereunder.”®! Through-this authority, delegated to him through 7 C.F.R. §
2.80(6), the Administrator of APHIS has-determined that Respondent is in violation of the AWA

and her continued possession of an AWA license would be contrary to the purposes of the Act.

As found herein, I agree. The Administrator’s determination as to other AWA licensees ts not

relevant to these proceedings.®*

 

F.3d 560, 567-78 (D.C. Cir. 2007), cert. denied, 128 S. Ct. 628 (2007)).
80 Respondent’s Answer to MSJ at 6.

81 7 USC. § 2146.

82 See Terranova, 78 Agric. Dec. 248, 342 (U.S.D.A. 2019) (“[NJothing in the Act, Regulations,
or case law requires that the violations in one case must parallel those in another to justify
license revocation.”); see also Koretoff v. Vilsack, 614 F.3d 532, 543 n.3 (D.C. Cir. 2010)
(Henderson, J., dissenting in part) (stating that “case-by-case determinations are the hallmark of
administrative and judicial adjudications”).

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Il. Respendent’s Counter-Motion to Dismiss Order to Show Cause
Respondent submits that “Complainant’s Order to Show Cause Should be Dismissed in
its entirety upon summary judgment in favor of the Respondent.”*? Respondents request is a
motion to dismiss on the pleadings, which is prohibited by section 1.143(b)(1) of the Rules of
Practice (7 C.F.R. § 1.143(b)(1)).** Even ifthe Rules allowed for such a motion, dismissal of
Complainant’s Order to Show Cause would be inappropriate under the circumstances. Other than
a few general statements regarding her opinion of APHIS’s actions, Respondent has failed to
offer any support for her motion.?2. As found herein, APHIS has demonstrated that Respondent is
in violation of the AWA. Therefore; Respondent’s Cross-Motion to Dismiss Complainant's
Order to Show Cause must be DENIED.
IV. Respondent’s Counter-Motion for Summary Judgment
Respondent contends: “If summary judgment is granted at all, it should be granted in
favor of the Respondent.” However, Respondent offers no evidence in support thereof and has
failed to meet her burden as the- moving party.’ Furthermore, summary judgment is properin
cases where there is “no genuine issue as to any material fact.”** That Respondent spends the

majority of her Answer to Complainant’s Motion for Summary Judgment arguing “there are

8 Respondent’s Answer to MS] at 21.

84 See 7 C.F.R. § 1.143(b)() (“Any motion will be entertained other than a motion to dismiss on
the pleading.”); Lindsay Foods, Inc., 56 Agric. Dec. 1643, 1647-48, 1650-51 (U.S.D.A. 1997)
(Remand Order); see also 7 C.F.R. § 1.132 (“Compiaint means the formal complaint, order to
show cause, or other document by virtue of which a proceeding is instituted.”) (emphasis added).

8 See Respondent’s Answer to MSI at 21.

% Id.
87 See Knaust, 73 Agric. Dec. at 98-99 (footnotes omitted).

88 Anderson, 477 US. at 255.

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issues of material fact” in this case completely undermines her argument.” Accordingly,
Respondent’s Counter-Motion for Summary Judgment must be DENIED.
Findings of Fact
n. Respondent Carrie Leo is an individual who does business as Caring for Cottontails Wildlife
Rescue & Rehabilitation, Inc., whose mailing address is in New York. (Order to Show Cause
at |; Answer at 1).
2. Atall times material herein, Respondent operated as an exhibitor, as that term is defined in

the Act and Regulations, and held AWA license 21~C-0435. (Order to Show Cause at 1;

Answer at 1).

Ree

3. Onorabout May [022016, the State of New York cited Respondent in ArrestiRecord
BF0195322 for the offense of failing to provide proper caging facilities for opossums in
violation of License to Collect or Possess Education/Exhibition # 623 (“LCPEE #623”)
Condition 10 and in-Arrest Record BFO195333 for the offense of failing to submit an
accurate and complete exhibition report in violation of LCPEE #623 Condition 22. (CX-1;
CX-2).

4, The State of New York initiated a proceeding before the Department of Environmental
Conservation (“DEC”) to revoke Respondent’s New York State License to Collect or Possess
— Education/Exhibition (“LCPEE # 623”). The bases, in part, for the State of New York’s
revocation proceeding were the offenses cited in Arrest Records BF0195322 and

BF0195333. (CX-2; CX-4).

5. On or about December 12, 2017, the State of New York, Wayne County, in Case No.

 

89 Respondent’s Answer to MSJ at 6 (emphasis added).

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1608141, convicted Respondent of the offenses cited in Arrest Records BF0195322 and

BF019533. (CX-2; CX-3).
. Onor about July 20, 2018, DEC Administrative Law Judge Richard A. Sherman, in Jn re

Carrie Leo, DEC Case No, OHMS 2017-72265, after a hearing, concluded and

recommended the following:

As detailed above, I conclude that Department staff has met its burden to establish
that, as alleged in the notice of intent, respondent Carrie M. Leo (i) possessed
wildlife without a proper license from the Department; (ii) failed to submit timely
reports to the Department; (iii) failed to comply with the terms and conditions of
LCPEE:#623; and (iv) failed to comply with the terms of a federal dicense directly
related to the activity authorized by LCPEE #623.

Accordingly, I recommend that the Commissioner issue an order revoking
LCPEBe623. I further recommend that the Commissioner direct #eSpondent to
transfefhor otherwise dispose of all wildlife held at the facility without proper
authorization from the Department within 60 days of service of the*:
Commissioner’s order.

(CX-4).
On or about November 7, 2018, DEC Commissioner Basil Seggos, in Jn re Carrie Leo, DEC
Case No. OHMS 2017-72265, issued a decision upon the recommendation of Judge Sherman
and revoked Respondent’s New York State LCPEE #623. (CX-5). Commissioner Basil found
that Respondent committed the following DEC violations:
A. Failed to comply with License Conditions 6 (Addition or Replacement of
Animals Without Written Authorization Prohibited), 10 (Providing Care for
Animal[s]) and 22 (Education/Exhibition Reporting Requirement) of a
License to Collect or Possess Certain Species of Wildlife for

Education/Exhibition Purposes (LCPEE) #623;

B. Failed to comply with the terms of a federal license directly related to the
activity authorized by LCPEE #623[;]

C. Possessed wildlife without a proper license from the Department of
Environmental Conservation; and

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D. Failed to keep accurate records and submit timely reports to the Department.

(CX-5).
Conclusions

The Secretary of Agriculture has jurisdiction in this matter.
. The material facts involved in this matter are not in dispute, and the entry of summary
judgment in Complainant’s favor is appropriate.
. Respondent has been found to have violated a State or local law or regulation pertaining to
thectransportation, ownership, neglect, or welfare of animals,ias: provided in 9 C.F.R. §
2.1:1 (a)(6).
. Réspondent’s convictions of the offenses set forth in Arrest Records BFO195322 and
BF0195333 involve the ownership and welfare of animals. ‘“
Respondent’s convictions of the offenses set forth in Arrest Records BF0195322 and
BFO195333 demonstrate that Respondent is unfit to hold Animal Welfare Act license 21-C-
0435.
. The Administrator of APHIS has shown good cause to grant the relief requested in the
“Order to Show Cause Why Animal Welfare Act License 21-C-0435 Should Not Be
Terminated” filed against Respondent on April 21, 2020.
. To allow Respondent to maintain her AWA license would enable her to operate in
circumvention of a State or local law in violation of 9 C.F.R. § 2.11 (a)(5).
. The termination of Respondent’s AWA license pursuant to 9 C.F.R. §§ 2.11(a)(5),
2.11 (a)(6), and 2.12 is appropriate, promotes the remedial purposes of the Animal Welfare

Act, and is supported by the evidence of record.

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ORDER
1. Complainant’s Motion for Summary Judgment is GRANTED,
2. Respondent’s Cross-Motion to Dismiss Complainant’s Order to Show Cause is DENIED.
3. Respondent’s Cross-Motion for Summary Judgment is DENIED.
4, Respondent’s AWA license, 21-C-0435, is hereby TERMINATED in accordance with 9
CFR, § 2.12.

This Decision and Order shall be final and effective without further proceedings thirty-
five (35) days after service upon Respondent unless an appeal to the Judicial Officer is filed with
the Hearing Clerk withiathirty (30) days after service, as provided in section 1.145 of the Rules
of Practice (7 C.F.R.-§ 1,145).

Copies of this‘Becision and Order shall be served upon the parties and‘counsel by the

Hearing Clerk.
Done at Washington, DC,
this 8th day of September 2020
Channing D. Strother OO
Chief Administrative Law Judge
Hearing Clerk’s Office

U.S. Department of Agriculture

South Building, Room 1031

1400 Independence Avenue, SW
Washington, D.C. 20250-9203

Tel: 202-720-4443

Fax: 844-325-6940
SM.OHA.HearingClerks@USDA.GOV

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Carrie M. Leo
3199 Walworth Road
Walworth, NY 14568

   

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District of NY

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